               Case 3:18-cv-05785-BHS Document 9 Filed 01/07/19 Page 1 of 11




 1                                                   THE HONORABLE BENJAMIN H. SETTLE
 2

 3

 4

 5

 6

 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT TACOMA
 9   EMILY TORJUSEN,                                 )
                                                     )
10                                      Plaintiff,   )
                                                     )     Case No. 3:18-cv-05785-BHS
11            v.                                     )
                                                     )     JOINT STATUS REPORT AND
12   NATIONAL RAILROAD PASSENGER                     )     DISCOVERY PLAN
     CORPORATION, d/b/a AMTRAK; and                  )
13   DOES ONE THROUGH FIFTY,                         )
                                                     )
14                                   Defendants.     )
                                                     )
15

16
              Plaintiff, by and through her counsel of record, and Defendant, by and through its counsel
17
     of record, present this Joint Status Report and Discovery Plan:
18
              1.        Statement of Nature & Complexity of Case.
19
               This case arises out the December 18, 2017 derailment of Amtrak Cascades Train 501
20
     in DuPont, Washington during its inaugural run from Portland to Seattle on the new Point
21
     Defiance bypass. Defendant National Railroad Passenger Corporation (hereinafter Amtrak)
22
     does not contest liability for compensatory damages proximately caused by the derailment of
23
     Train 501.
24
              2.        Proposed Deadline for Joining Additional Parties.
25
              The parties proposed February 28, 2019 as the deadline for seeking to join additional
26
     parties, if any.
27
     JOINT STATUS REPORT AND DISCOVERY PLAN                                            LANE POWELL PC
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     019188.0425/7514879.1                                                  HILDEBRAND MCLEOD & NELSON, LLP
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 1            3.        No Consent to Magistrate.

 2            The parties do not consent to assignment of this case to a full time United States

 3   Magistrate Judge.

 4            4.        Fed. R. Civ. P. 26(f)(3) Discovery Plan.

 5            The Rule 26 conference was completed on December 12, 2018.

 6                      A.     Initial Disclosures.

 7            The parties plan to exchange initial disclosures on or before January 30, 2019.

 8                      B.     Subjects, Timing, and Potential Phasing of Discovery.

 9            The parties assert that discovery may be needed on medical causation and damages, which

10   should be obtained by methods including, but not limited to, interrogatories, requests for

11   production, requests for admission, and depositions.

12                      C.     Electronically Stored Information.

13            No discovery of electronically stored information is anticipated at the present time.

14                      D.     Privilege Issues.

15            At the present time, the parties do not foresee any unusual issues regarding claims of

16    privilege.

17                      E.     Proposed Limitations on Discovery.

18            The parties propose discovery within the limitations set forth in the Federal Rules of Civil

19   Procedure.

20                      F.     Discovery-Related Orders.

21            No discovery motions are anticipated at the present time.

22            5.        Local Civil Rule 26(f)(1) Topics:

23                      A.     Prompt Case Resolution.

24            The parties decline to participate in the Individualized Trial Program.

25

26

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 1                      B.    Alternative Dispute Resolution.

 2            The parties agree to submit to mediation under Local Civil Rule 39.1(c), a settlement

 3   conference before a magistrate judge, or any other alternative dispute resolution procedure that

 4   the Court deems appropriate at the conclusion of discovery.

 5                      C.    Related Cases:

 6            1.        USDC – SEA Cause No. 2:18-cv-00072
                        Hon. Benjamin H. Settle
 7                      Pennie Cottrell v. NRPC
 8            2.        USDC – SEA Cause No. 2:18-cv-00093
                        Hon. Benjamin H. Settle
 9                      Cecilia Goetz v. NRPC
10            3.        USDC – SEA Cause No. 2:18-cv-00134
                        Hon. Benjamin H. Settle
11                      Aaron Harris v. NRPC
12            4.        USDC – TAC Cause No. 3:18-cv-05062
                        Hon. Benjamin H. Settle
13                      Donald Jones; Reya Rezai v. NRPC
14            5.        USDC – SEA Cause No. 2:18-cv-00190
                        Hon. Benjamin H. Settle
15                      Hilario Valdez, et al. v. NRPC
16            6         USDC – TAC Cause No. 3:18-cv-05106
                        Hon. Benjamin H. Settle
17                      Madeleine Garza v. NRPC
18            7.        USDC – SEA Cause No. 2:18-cv-00086
                        Hon. Benjamin H. Settle
19                      Blaine Wilmotte v. NRPC
20            8.        USDC – SEA Cause No. 3:18-cv-05366
                        Hon. Benjamin H. Settle
21                      Drew Mitchem v. NRPC
22            9.        USDC – TAC Cause No. 3:18-cv-05415
                        Hon. Benjamin H. Settle
23                      Diana Rincon v. NRPC
24            10.       USDC – TAC Cause No. 3:18-cv-05448
                        Hon. Benjamin H. Settle
25                      Jason Cates v. NRPC
26            11.USDC – TAC Cause No. 3:18-cv-05451
                 Hon. Benjamin H. Settle
27               Megan Douglas v. NRPC
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 1
              12.       USDC – TAC Cause No. 3:18-cv-05452
 2                      Hon. Benjamin H. Settle
                        Rudolph Wetzel v. NRPC
 3
              13.       USDC – TAC Cause No. 3:18-cv-05498
 4                      Hon. Benjamin H. Settle
                        Angela and Kenneth Ward v. NRPC
 5
              14.       USDC – TAC Cause No. 3:18-cv-05564
 6                      Hon. Benjamin H. Settle
                        Donnell Linton v. NRPC
 7
              15.       USDC – TAC Cause No. 3:18-cv-05576
 8                      Hon. Benjamin H. Settle
                        Josh Hartley v. NRPC
 9
              16.       USDC – SEA Cause No. 2:18-cv-00648
10                      Hon. Benjamin H. Settle
                        Dale Skyllingstad v. NRPC
11
              17.       USDC – SEA Cause No. 2:18-cv-01050
12                      Hon. Benjamin H. Settle
                        Patricia Freeman v. NRPC
13
              18.       USDC – TAC Cause No. 3:18-cv-005572
14                      Hon. Benjamin H. Settle
                        Karen and Kevin Barrett v. NRPC
15
              19.       USDC – TAC Cause No. 3:18-cv-05594
16                      Hon. Benjamin H. Settle
                        Jacob Burke and Belinda Cottrell-Burke v. NRPC
17
              20.       USDC-TAC Cause No. 3:18-cv-05617
18                      Hon. Benjamin H. Settle
                        Dona Linton v. NRPC
19
              21.       USDC-TAC Cause No. 3:18-cv-05629
20                      Hon. Benjamin H. Settle
                        Yu-Tsen Yu v. NRPC
21
              22.       USDC-TAC Cause No. 3:18-cv-05684
22                      Hon. Benjamin H. Settle
                        Zhiming Zhuang and Huinan Yu v. NRPC
23
              23.       USDC-SEA Cause No. 2:18-cv-01298
24                      Hon. Benjamin H. Settle
                        T.B. v. NRPC, et al.
25
              24.       USDC-TAC Cause No. 3:18-cv-05776
26                      Hon. Benjamin H. Settle
                        Hannah Near v. NRPC
27
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 1            25.       USDC-TAC Cause No. 3:18-cv-05788
                        Hon. Benjamin H. Settle
 2                      Amanda Uhlarik v. NRPC

 3            26.       USDC-TAC Cause No. 3:18-cv-05784
                        Hon. Benjamin H. Settle
 4                      Ngoc Ahn Phan and Long Phan v. NRPC

 5            27.       USDC-TAC Cause No. 3:18-cv-05823
                        Hon. Ronald B. Leighton
 6                      Laura Vaughns and Albert J. Vaughns v. NRPC

 7            28.       USDC-TAC Cause No. 3:18-cv-05840
                        Hon. Benjamin H. Settle
 8                      Riedel, individually and as PR for the
                        Estate of Benjamin Gran v. NRPC
 9
              29.       USDC-TAC Cause No. 3:18-cv-05844
10                      Hon. Ronald B. Leighton
                        Fenelon v. NRPC
11
              30.       USDC-TAC Cause No. 3:18-cv-05880
12                      Hon. Benjamin H. Settle
                        Robert and Michelle Snyder v. NRPC
13
              31.       USDC-TAC Cause No. 3:18-cv-05883
14                      Hon. Benjamin H. Settle
                        Brook Spurgeon v. NRPC
15
              32.       USDC-TAC Cause No. 3:18-cv-05956
16                      Hon. Benjamin H. Settle
                        Eran Howarth v. NRPC
17
              33.       USDC-TAC Cause No. 3:18-cv-05972
18                      Hon. Benjamin H. Settle
                        Shauna and Brian Stern v. NRPC
19
                        D.     Discovery Management.
20
              The parties request that this case and the Related Cases be assigned to a single judge for
21
     purposes of pretrial discovery management.
22
                        E.     Anticipated Discovery Sought.
23
              Interrogatories, requests for production, requests for admission, and depositions related
24
     to medical causation and damages.
25

26

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 1                      F.    Phasing of Motions.

 2            The parties do not anticipate phasing motions to facilitate early resolution of potentially

 3   dispositive issues.

 4                      G.    Preservation of Discoverable Information.

 5            At the present time, the parties do not have preliminary issues relating to the preservation

 6   of discovery information.

 7                      H.    Privilege Issues.

 8            The parties agree to comply with the procedures for handling inadvertent production of

 9   privileged information contained in Fed. R. Civ. P. 26(b)(5)(B). The parties have no other

10   privilege waiver issues at this time.

11                      I.    Model Protocol for Discovery of ESI.

12            The parties do not anticipate that a protocol for discovery of ESI will prove necessary.

13                      J.    Alternatives to Model ESI Protocol.

14            The parties do not anticipate that alternatives to the model protocol for discovery of ESI

15   will prove necessary.

16            6.        Completion of Discovery.

17            Plaintiff believes that discovery can be completed by 30 days prior to trial or December

18   2019.

19            Defendant does not believe discovery can be completed by that date. Defendant believes

20   February 2020 is a more achievable discovery deadline.

21            7.        No Bifurcation.

22            The parties do not believe bifurcation is necessary.

23            8.        Individual Trial Program and ADR.

24            The parties will engage in pretrial mediation pursuant to Local Civil Rule 39.1(c), a

25   settlement conference before a magistrate judge, or any other alternative dispute resolution

26   procedure that the Court deems appropriate, and will work together to determine what discovery

27   needs to occur prior to ADR. The parties decline to participate in the Individualized Trial
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 1   Program.

 2            9.        Other Suggestions for Shortening or Simplifying Case.

 3            Counsel will work toward shortening and simplifying the case but have no specific

 4   suggestions at this time.

 5            10.       Trial Date.

 6            Plaintiff believes that the case will be ready for trial by January 2020.

 7            Given the current trial dates in other cases arising out of the December 18, 2017 Amtrak

 8   derailment and other matters, Defendant believes that this case should not be scheduled for trial

 9   prior to March 2021.

10            11.       Jury Trial.

11            The case will be tried by a jury.

12            12.       Number of Trial Dates.

13            The parties anticipate that trial will take approximately 5 court days.

14            Trial Counsel for Plaintiffs:
              Anthony S. Petru
15            Carole M. Bosch
16            Hildebrand McLeod & Nelson LLP
              350 Frank H. Ogawa Plaza, 4th Floor
17            Oakland, Ca 94612
              (800) 447-7500 | (510) 465-7023 (fax)
18            petru@hmnlaw.com
              bosch@hmnlaw.com
19

20            and

21            Joe Grube
              Karen Orehoski
22            Breneman Grube Orehoski, PLLC
              1200 Fifth Avenue, Ste 625
23            Seattle, Wa 98101
24            (206) 624-5975 | (206) 770-7607 (fax)
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25            karen@ggotrial.com

26

27
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 1            Trial counsel for Defendant:
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 2            Andrew G. Yates
              Warren E. Babb, Jr.
 3
              Katie Bass
 4            Lane Powell, PC
              1420 Fifth Avenue, Suite 4200
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              Seattle, WA 98111-9402
 6            Telephone: 206.223.7000
 7            Facsimile: 206.223.7107
              Email: wackerbartht@lanepowell.com
 8                    yatesa@lanepowell.com
                      babbw@lanepowell.com
 9                    bassk@lanepowell.com
10            and
11
              Mark Landman
12            John A. Bonventre
              Landman Corsi Ballaine & Ford
13            120 Broadway, 27th Floor
              New York, NY 10271
14            Telephone: 212.238.4800
15            Facsimile: 212.238.4848
              Email: mlandman@lcbf.com
16            jbonventre@lcbf.com

17
              13.       Trial Date Conflicts.
18
              In setting a trial date, counsel for Defendant may have complications with the following
19
     dates: 12.03.2018, 01.07.2019, 02.11.2019, 02.25.2019, 03.18.2019, 03.26.2019, 04.09.2019,
20
     04.29.2019, 05.28.2019, 06.10.2019, 06.18.2019, 06.24.2019, 07.03.2019, 07.10.2019,
21
     08.12.2019, 08.27.2019, 09.03.2019, 10.01.2019, 10.07.2019, 10.08.2019, 10.21.2019,
22
     10.29.2019, 11.25.2019, 12.02.2019, 01.28.2020, 02.25.2020, 03.03.2020, 03.23.2020,
23
     04.07.2020, 04.28.2020, 05.26.2020, 06.09.2020, 09.15.2020, 10.20.2020, 11.10.2020,
24
     12.01.2020, 01.12.2021.
25

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 1            14.       Corporate Disclosure Statement.

 2            Defendant will file its corporate disclosure statement pursuant to Fed. R. Civ. P. 7.1 and

 3   LCR 7.1 by December 21, 2018.

 4            15.       Service.

 5            Defendant has been served.

 6            The parties stipulate that all service of documents not filed with the Court, including but

 7   not limited to, discovery requests, discovery responses, deposition notices, disclosures, and

 8   correspondence, may be made by electronic service via electronic service (email). Electronic

 9   service made by 5:00 p.m. Pacific time on any business day shall be considered equivalent to

10   personal service on that business day. Electronic service after 5:00 p.m. or on a Saturday,

11   Sunday, or federal holiday shall be deemed service the next business day. Service by any other

12   means shall be governed by the Federal Rules of Civil Procedure and the Local Civil Rules of

13   the United States District Court, Western District of Washington.

14            16.       Request for Trial Setting Conference

15            Plaintiff requests that the Court set an in-person Rule 26 Case Conference or Trial Setting

16   Conference.

17            DATED this 7th day of January 2019.

18    HILDEBRAND MCLEOD & NELSON LLP LANE POWELL PC
19
      By: s/ Carole M. Bosch                            By: s/ Andrew G. Yates
20    Anthony S. Petru, Admitted PHV                    Tim D. Wackerbarth, WSBA No. 13673
      petru@hmnlaw.com                                  wackerbartht@lanepowell.com
21    Carole M. Bosch, WSBA 53844                       Andrew G. Yates, WSBA No. 34239
      bosch@hmnlaw.com                                  yatesa@lanepowell.com
22                                                      Warren E. Babb, Jr., WSBA No. 13410
23                                                      babbw@lanepowell.com
                                                        Katie Bass, WSBA No. 51369
24                                                      bassk@lanepowell.com

25    Attorneys for Plaintiff                           Attorneys for Defendant National Railroad
                                                        Passenger Corporation
26

27
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 1                                        CERTIFICATE OF SERVICE

 2                  Emily Torjusen vs. National Railroad Passenger Corp. dba AMTRAK
                  USDC District Western District of WA - Tacoma, Case No.3:180CV-05785
 3

 4     I, Karen Andrade, certify that on January 7, 2019, I served the attached:

 5                            JOINT STATUS REPORT AND DISCOVERY PLAN

 6     in said cause, by placing a true copy thereof enclosed in a sealed envelope addressed as
      follows:
 7
                             LANE POWELL, PC
 8                           Timothy D. Wackerbarth, Esq.
 9                           Andrew Yates, Esq.
                             1420 Fifth Avenue, Suite 4200
10                           Seattle, WA 98111-9402
                             206-223-71017 Fax
11

12
            X     BY MAIL: I certify that I placed each such sealed envelope, with postage
13    thereon fully prepaid for first-class mail, for collection and mailing at Oakland, California,
      following ordinary business practices. I am readily familiar with the practice of Hildebrand,
14    McLeod & Nelson, LLP. for processing of correspondence, said practice being that in the
      ordinary course of business, correspondence is deposited in the United States Postal Service
15    the same day as it is placed for processing.
16
           X      BY ELECTRONIC MAIL: I hereby certify that I caused the above
17    document(s) to be sent electronically to the following email addresses:
      WackerbarthT@lanepowell.com; YatesA@lanepowell.com; eltonp@lanepowell.com;
18    houstonm@lanepowell.com; yangm@lanepowell.com
19               BY EXPRESS MAIL: I certify that I deposited such envelope(s) or package(s) in
20    a facility regularly maintained by the U.S. Postal Service for receipt of Express Mail, as
      specified in C.C.P. §1013(c), with Express Mail postage prepaid.
21
               BY PERSONAL SERVICE: I certify that I caused such envelope(s) containing a
22    true copy thereof to be hand delivered to the parties listed.
23           BY OVERNIGHT DELIVERY: I certify that I caused such envelope(s) or
24    package(s) designated by Federal Express with delivery fees paid or provided and;

25         Deposited such envelope(s) or package(s) in a facility regularly maintained by the
      Federal Express courier;
26
              Delivered such envelope(s) or packages to an authorized courier or driver
27
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 1
                    Emily Torjusen vs. National Railroad Passenger Corp. dba AMTRAK
 2                USDC District Western District of WA - Tacoma, Case No.3:180CV-05785
 3

 4     authorized by Federal Express carrier to receive documents.

 5          FACSIMILE: I certify that by use of facsimile machine telephone number 510-465-
      7023, I served a true copy of the above-entitled document(s), on the parties in said action by
 6    transmitting by facsimile machine to the numbers as set forth above, with a copy of the
 7    original to follow. I caused the machine to print a record of the fax transmission, a copy of
      which is attached to this Declaration.
 8
       Executed this January 7, 2019, at Oakland, California.
 9
       Pursuant to FRCP 5(b), I certify that I am an employee of Hildebrand, McLeod & Nelson,
10    LLP, who are members of the bar of this court and at whose direction this service was made.
11

12

13                                                                /S/ KAREN ANDRADE____
                                                                   KAREN ANDRADE
14

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